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			Home » Hawaii Appellate Court Opinions and Orders » Opinions 
		
					
	 	


	
		

					Opinions			 
			
			For 2009 and older, Case Number link will display content as an html page. PDF link will display a scanned image with file date stamp and judicial signatures. Beginning in 2010, Case Number link will display a scanned image with file date stamp and judicial signatures. ADA link will display an accessible file compatible with online reader devices. Click here to view Opinions and Orders from 1998 to 2009.
						
			
						
				
				
				
			
    		
				
					
						
							Date
							Ct.
							Case Number
							Case Name
							Appealed From
							Reporter Citation
						
					
					
												
							July 30, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Senip (Order Rejecting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 04/18/2019 [ada].&nbsp; Application for&nbsp;Writ of Certiorari, filed 06/24/2019.&nbsp;

							Circuit Court, 1st Circuit
							
						
												
							July 26, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Joslin v. Ota Camp-Makibaka Association, Inc. (Order Rejecting Application for Writ of Certiorari). ICA mem. op., filed 04/05/2019 [ada], 144 Haw. 154.&nbsp; Application for Writ of Certiorari, filed 06/03/2019.&nbsp;S.Ct. Order Dismissing Application for Writ of Certiorari, filed 06/06/2019 [ada]. Application for Writ of Certiorari, filed 06/19/2019.

							Circuit Court, 1st Circuit
							
						
												
							July 26, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							American Savings Bank, F.S.B. v. Chan (mem.op., affirmed, vacated and remanded).&nbsp; Consolidated with Case No. CAAP-XX-XXXXXXX.

							Circuit Court, 1st Circuit
							
						
												
							July 26, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Watanabe v. Employees’ Retirement System (s.d.o., affirmed).

							Circuit Court, 3rd Circuit
							
						
												
							July 26, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Argus (s.d.o., affirmed).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							July 26, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Wang (s.d.o., affirmed).

							Circuit Court, 1st Circuit
							
						
												
							July 26, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Association Of Apartment Owners Of The Hawaii Kai Peninsula v. Peninsula Hawaii Kai, LLC (Order Approving Stipulation to Dismiss Appeal).

							Circuit Court, 1st Circuit
							
						
												
							July 25, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Brown.&nbsp; Dissenting Opinion by Nakayama, J., In Which Recktenwald, C.J., Joins [ada]. ICA mem. op., filed 06/30/2017 [ada], 140 Haw. 20. Dissenting Opinion by Nakamura, C.J. [ada]. Application for Writ of Certiorari, filed 9/25/2017.&nbsp;S.Ct. Order Accepting Application for Writ of Certiorari, filed 10/30/2017 [ada].

							Circuit Court, 1st Circuit
							
						
												
							July 24, 2019
							S.Ct
							SCOT-XX-XXXXXXX [ADA]
							In re The Application Of The Gas Company, LLC dba Hawaii Gas For Approval Of Rate Increases And Revised Rate Schedules And Rules (Order Denying Motion to Dismiss Appeal).

							Public Utilities Commission
							
						
												
							July 23, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Voorhees (Order Accepting&nbsp;Application for Writ of Certiorari). ICA mem. op., filed 03/12/2019 [ada].

							District Court, 3rd Circuit
							
						
												
							July 23, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Winham (Order Accepting Application for Writ of Certiorari). ICA s.d.o., filed 04/04/2019, 144 Haw. 154. Motion for Reconsideration, filed 04/12/2019.&nbsp; ICA&nbsp;Order Denying April 12, 2019 Motion for Reconsideration of the Summary Disposition Order Filed April 4, 2019, filed 04/22/2019 [ada].&nbsp;ICA Amended s.d.o., filed 05/07/2019 [ada].&nbsp;Application for Writ of Certiorari, filed 05/21/2019. S.Ct. Order Dismissing Application for Writ of Certiorari, filed 05/24/2019 [ada]. Application for Writ of Certiorari, filed 06/14/2019.

							Circuit Court, 1st Circuit
							
						
												
							July 23, 2019
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Grandinetti v. State (Order Denying Motion For Reconsideration). S.Ct. Order, filed 06/26/2019 [ada]. Petition for Writ of Mandamus, filed 06/12/2019.&nbsp; Motion for Reconsideration, filed 07/15/2019.

							Original Proceeding
							
						
												
							July 23, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Rodrigues (Order Accepting Application for Writ of Certiorari). ICA mem. op., filed 03/12/2019 [ada], 144 Haw. 69. Dissent by Leonard, J. [ada].&nbsp;Application for&nbsp;Writ of Certiorari, filed 06/07/2019.

							Circuit Court, 3rd Circuit
							
						
												
							July 18, 2019
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							State v. Kim (Order Denying Without Prejudice Amended Petition For Writ of Mandamus). Petition for Writ of Mandamus, filed 06/25/2019.&nbsp; Amended Petition For Writ of Mandamus, filed 06/27/2019.

							Original Proceeding
							
						
												
							July 18, 2019
							S.Ct
							SCPR-XX-XXXXXXX [ADA]
							In re Nishimitsu (Order Granting Petition to Resign and Surrender License).

							Original Proceeding
							
						
												
							July 17, 2019
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Russi v.&nbsp;Commission on Judicial Conduct (Order Denying&nbsp;Petition for Writ of Mandamus).&nbsp; Petition for Writ of Mandamus, filed 06/25/2019.

							Original Proceeding
							
						
												
							July 17, 2019
							S.Ct
							SCOT-XX-XXXXXXX [ADA]
							Iyonsi v. Wal-Mart Incorporation (Order Denying Petition).

							Original Proceeding
							
						
												
							July 17, 2019
							S.Ct
							SCOT-XX-XXXXXXX [ADA]
							Iyonsi v. United States of America (Order Denying Petition).

							Original Proceeding
							
						
												
							July 17, 2019
							S.Ct
							SCOT-XX-XXXXXXX [ADA]
							Iyonsi v. Hawai‘i Police Department (Order Denying Petition).

							Original Proceeding
							
						
												
							July 17, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Coco Palms Hui LLC v. Mau-Espirito (Order Rejecting Application for&nbsp;Writ of Certiorari). ICA s.d.o., filed 05/08/2019 [ada], 144 Haw. 377.&nbsp;Application for&nbsp;Writ of Certiorari, filed 06/24/2019.

							District Court, 5th Circuit
							
						
												
							July 16, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Cambridge Management Inc. v. Jadan (Order Accepting Application for Writ of Certiorari). ICA s.d.o., filed 03/28/2019 [ada], 144 Haw. 140. Application for Writ of Certiorari, filed 05/31/2019.

							District Court, 1st Circuit
							
						
												
							July 16, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Makila Land Co., LLC v. Kapu (Order Accepting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 02/28/2019 [ada], 144 Haw. 67.&nbsp; Application for Writ of Certiorari, 05/19/2019.

							Circuit Court, 2nd Circuit
							
						
												
							July 16, 2019
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Young v. Nakamoto (Order Denying “Motion To Objection And Request Of This Court To Reconsider Its Order Denying Petitioner’s Appeal Dated 02-Jul-2019, Pursuant To H.R.A.P. 40, Regarding H.R.C.P Rule 60 (b) (3)”) S.Ct. Order Denying “Notice of Appeal to the State of Hawaii Supreme Court from Orders 5/8/2019 in the Circuit Court of the Third Circuit Pursuant to HRAP Rules 3(a)(1)(5), 21(a)(i)(ii)(iii), 24(b), &amp; HRCP Rule 60(b)(3)”), filed 07/02/2019 [ada]. Writs of Mandamus &amp; Prohibition, filed 06/20/2019.&nbsp; Motion for Reconsideration, filed 07/10/2019.

							Original Proceeding
							
						
												
							July 15, 2019
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Noghrey v. Bryant (Order Denying Petition for Writ of Mandamus). Petition for Writ of Mandamus, filed 06/24/2019.

							Original Proceeding
							
						
												
							July 15, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Nordic Construction, Ltd. v. Maui Beach Resort Limited Partnership (Order Rejecting Application for Writ of Certiorari). ICA Order Granting November 7, 2018 Motion to Dismiss Appeal for Lack of Appellate Jurisdiction and Dismissing All Pending Motions as Moot, filed 04/01/2019 [ada]. Application for&nbsp;Writ of Certiorari, filed 05/31/2019.

							Circuit Court, 2nd Circuit
							
						
												
							July 15, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							In re EA (Order Rejecting Application for Writ of Certiorari). ICA s.d.o., filed 04/12/2019 [ada], 144 Haw. 156.&nbsp; Application for Writ of&nbsp;Certiorari, filed 05/17/2019.

							Family Court, 1st Circuit
							
						
												
							July 15, 2019
							S.Ct
							SCPR-XX-XXXXXXX [ADA]
							Office of Disciplinary Counsel v. Ornellas (Order Allowing Resignation in Lieu of Discipline).

							Original Proceeding
							
						
												
							July 15, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Marroquin (mem.op., affirmed).

							Circuit Court, 3rd Circuit
							
						
												
							July 15, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Boyd v. State (s.d.o., affirmed).

							District Court, 1st Circuit
							
						
												
							July 12, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Estate Administrative Services LLC v. Mohulamu (Order of Correction). ICA Order Approving Stipulation to Dismiss Appeal, filed 06/20/2019 [ada]. Application for&nbsp;Writ of Certiorari, filed 07/10/2019.

							District Court, 1st Circuit, Honolulu Division
							
						
												
							July 12, 2019
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Ioane v. Castagnetti (Order Denying Petition for Writ of Mandamus). Petition for Writ of Mandamus, filed 07/02/2019.

							Original Proceeding
							
						
												
							July 12, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Kahawaiolaa v. Hawaiian Sun Investments, Inc. (Order Denying Motion for Reconsideration). ICA s.d.o., filed 06/06/2019 [ada], 143 Haw. 373. Motion for Reconsideration, filed 07/10/2019.

							Circuit Court, 3rd Circuit
							
						
												
							July 11, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Lee (Order Dismissing Appeal).&nbsp;

							District Court, 1st Circuit, Honolulu Division
							
						
												
							July 11, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Kaʻu Sunshine LLC v. Unknown Heirs or Assigns of Kanakalauai (Order Denying July 8, 2019 HRAP Rule 40 Motion for Reconsideration of June 28, 2019 Order Dismissing Appeal for Lack of Appellate Jurisdiction). ICA&nbsp;Order Dismissing Appeal for Lack of Appellate Jurisdiction, filed 06/28/2019 [ada].&nbsp;Motion for Reconsideration, filed 07/08/2019. Plaintiff-Appellant’s Application for Writ of Certiorari, filed 07/25/2019.

							Circuit Court, 3rd Circuit
							
						
												
							July 11, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Phan (Order of Correction). ICA&nbsp;s.d.o., filed 06/27/2019 [ada].&nbsp;

							Family Court, 2nd Circuit
							
						
												
							July 11, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							First Hawaiian Bank v. Horner (Order Denying Motion for Reconsideration). ICA&nbsp;s.d.o., filed 06/28/2019 [ada].&nbsp;Motion for Reconsideration, filed 07/08/2019.

							Circuit Court, 1st Circuit
							
						
												
							July 10, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Yin v. Aguiar (Order Accepting Application for&nbsp;Writ of Certiorari). ICA s.d.o., filed 02/27/2019 [ada], 144 Haw. 65. ICA&nbsp;Order of Correction, filed 02/27/2019 [ada]. Application for&nbsp;Writ of Certiorari, filed 05/29/2019.

							Circuit Court, 3rd Circuit
							
						
												
							July 10, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Ioane (Order Rejecting Application for&nbsp;Writ of Certiorari). ICA&nbsp;s.d.o., filed 02/07/2019 [ada], 144 Haw. 59. Application for&nbsp;Writ of Certiorari, filed 05/27/2019.

							District Court, 1st Circuit, Honolulu Division
							
						
												
							July 10, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Eager (Order Rejecting Application for&nbsp;Writ of Certiorari). ICA&nbsp;s.d.o., filed 03/14/2019 [ada], 144 Haw. 70.&nbsp;Application for&nbsp;Writ of Certiorari, filed 05/28/2019.

							Circuit Court, 1st Circuit
							
						
												
							July 10, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							RH v. MH (s.d.o., affirmed).

							Family Court, 3rd Circuit
							
						
												
							July 10, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Kamakawiwoole v. Oahu Transit Services, Inc. (Order Granting Motion to Dismiss Appeal).

							Labor and Industrial Relations Appeals Board
							
						
												
							July 10, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							DeRego v. Isemoto Contracting Company, Ltd. (Order Granting Motion to Dismiss Appeal).

							Labor and Industrial Relations Appeals Board
							
						
												
							July 10, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Ruben (Order of Correction). ICA&nbsp;mem. op., filed 06/21/2019 [ada].

							Circuit Court, 1st Circuit
							
						
												
							July 10, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							HL v. NSL (s.d.o., affirmed). Consolidated with Case No. CAAP-XX-XXXXXXX.

							Family Court, 1st Circuit
							
						
												
							July 9, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							In re B Children (Order Rejecting Application for&nbsp;Writ of Certiorari). ICA&nbsp;s.d.o., filed 04/10/2019 [ada],&nbsp;144 Haw. 154. Application for&nbsp;Writ of Certiorari, filed 05/17/2019.

							Family Court, 1st Circuit
							
						
												
							July 9, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Phillips (Order Accepting Application for&nbsp;Writ of Certiorari). ICA&nbsp;s.d.o., filed 02/15/2019 [ada], 144 Haw. 61.&nbsp;Application for&nbsp;Writ of Certiorari, filed 05/28/2019.

							District Court, 3rd Circuit, Kona Division
							
						
												
							July 9, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Nicol (Amended Order Rejecting Application for Writ of Certiorari).&nbsp;ICA Order Dismissing the Appeal for Lack of Appellate Jurisdiction, filed 01/11/2017 [ada].&nbsp; Application for Writ of Certiorari, filed 03/13/2017.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 04/27/2017 [ada].&nbsp;S.Ct. Opinion, filed 08/30/2017 [ada],&nbsp;140 Haw. 482.&nbsp;&nbsp;ICA s.d.o., filed 02/25/2019 [ada], 144 Haw. 62.&nbsp;&nbsp;Application for Writ of Certiorari, filed 05/28/2019.&nbsp;S.Ct. Order Rejecting Application for Writ of Certiorari, filed 07/09/2019.

							Circuit Court, 1st Circuit
							
						
												
							July 9, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							HSBC Bank USA v. Marcantonio (Order Dismissing Application for Writ of Certiorari).&nbsp;ICA&nbsp;s.d.o., filed 12/28/2018 [ada], 143 Haw. 525. Application for Writ of Certiorari, filed 03/25/2019.&nbsp;S.Ct.&nbsp;Order Accepting Application for Writ of Certiorari, filed 05/06/2019 [ada].

							Circuit Court, 2nd Circuit
							
						
												
							July 9, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Nicol (Order Rejecting Application for Writ of Certiorari).&nbsp;ICA Order Dismissing the Appeal for Lack of Appellate Jurisdiction, filed 01/11/2017 [ada].&nbsp; Application for Writ of Certiorari, filed 03/13/2017.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 04/27/2017 [ada].&nbsp;S.Ct. Opinion, filed 08/30/2017 [ada],&nbsp;140 Haw. 482.&nbsp;&nbsp;ICA s.d.o., filed 02/25/2019 [ada], 144 Haw. 62.&nbsp;&nbsp;Application for Writ of Certiorari, filed 05/28/2019.&nbsp; &nbsp;S.Ct.&nbsp;Amended Order Rejecting Application for Writ of Certiorari, filed 07/09/2019 [ada].

							Circuit Court, 1st Circuit
							
						
												
							July 9, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Trustees of the Estate of Bernice Pauahi Bishop v. Au (Order Denying Motion for Reconsideration). ICA&nbsp;s.d.o., filed 06/28/2019 [ada].&nbsp;Motion for Reconsideration, filed 07/04/2019.

							Circuit Court, 1st Circuit
							
						
											
				
			
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